Case 8:18-cv-00860-RAL-CPT Document 1 Filed 04/11/18 Page 1 of 5 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

                              CASE No.:

 HOWARD CARABALLO,

                Plaintiff,

 vs.

 OCWEN LOAN SERVICING, LLC

             Defendant.
 ___________________________/

                                   NOTICE OF REMOVAL

        Defendant Ocwen Loan Servicing, LLC (“Defendant”), by counsel and pursuant to 28

 U.S.C. §§ 1332, 1441 and 1446, removes the above-captioned civil action currently pending

 in the Circuit Court of the Thirteenth Judicial Circuit in and for Hillsborough County, Florida,

 to the United States District Court for the Middle District of Florida, Orlando Division. In

 support of this Notice of Removal, Defendant states as follows:

 I.      BACKGROUND AND PROCEDURAL POSTURE

          1.    On March 5, 2018, Plaintiff Howard Caraballo (“Plaintiff”) filed a Complaint

 against Defendant, in the County Court of the Thirteenth Judicial Circuit in and for

 Hillsborough County, Florida, in a case styled as Howard Caraballo v. Ocwen Loan Servicing,

 LLC, No. 18-CC-012561 (“State Court Action”).

          2.    On or about March 12, 2018, Defendant received notice of the Complaint,

 which is the initial pleading setting forth the claims for relief upon which this removal is based.
Case 8:18-cv-00860-RAL-CPT Document 1 Filed 04/11/18 Page 2 of 5 PageID 2




           3.      Removal of this Complaint is timely under 28 U.S.C. § 1446(b) because this

 Notice of Removal was filed within thirty days after Defendant received the initial pleading on

 March 12, 2018.

           4.      The United States District Court for the Middle District of Florida, Tampa

 Division, is the district and division within which this action is pending under 28 U.S.C.

 §§ 1441(a), 1446(a), and is, therefore, the proper venue for this action. See also M.D. Fla. L.R.

 1.02.

           5.       Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,

 pleadings, and orders received by Defendant in the State Court Action are attached hereto as

 Composite Exhibit A. 1

          6.        In accordance with 28 U.S.C. § 1446(d), Defendant has contemporaneously

 filed a Notice of Removal with the Circuit Court of the Thirteenth Judicial Circuit in and for

 Hillsborough County, Florida. 2 A copy of Defendant’s Notice to State Court of Removal to

 Federal Court is attached hereto as Exhibit B.

          7.        In accordance with 28 U.S.C. § 1446(d), Defendant has also given written

 notice to Plaintiff by contemporaneously serving this Notice of Removal on counsel for

 Plaintiff.

          8.        In filing this Notice of Removal, Defendant does not waive and specifically

 reserves any and all defenses, exceptions, rights, and motions, including defenses concerning




 1
   A review of the docket in the State Court Action reflects that on March 23, 2018, the Plaintiff filed an Amended
 Complaint. As of the date of this Notice of Removal, Defendant has not been served the Amended Complaint.
 2
   A review of the docket in the State Court Action reflects that on March 29, 2018, the case was transferred from
 County Court to the Circuit Court.


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Case 8:18-cv-00860-RAL-CPT Document 1 Filed 04/11/18 Page 3 of 5 PageID 3




 improper or lack of service. No statement or omission in this Notice shall be deemed an

 admission of any allegations or damages sought in the Complaint.

        9.      As set forth below, this case is properly removed to this Court based on federal

 question jurisdiction.

 II.    REMOVAL IS PROPER BASED ON FEDERAL QUESTION JURISDICTION

        10.     Removal is proper under 28 U.S.C. § 1441(a), because this United States

 District Court has original jurisdiction over this case pursuant to 28 U.S.C. §§ 1331. Section

 1331 provides that the District Courts shall have “original jurisdiction of all civil actions

 arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

        11.     The two-count Complaint appears to seek recovery under the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692 (“FDCPA”). See generally, Ex. A, Complaint.

        12.     The Eleventh Circuit has made clear that a federal court has federal question

 jurisdiction over TCPA and FDCPA claims pursuant to 28 U.S.C. § 1331. Osorio v. State

 Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014); Hawthorne v. Mac Adjustment, Inc.,

 140 F.3d 1367 (11th Cir. 1998); Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740, 753 (2012).


        WHEREFORE, Defendant Ocwen Loan Servicing, LLC hereby removes the above-

 captioned action now pending in the Circuit Court of the Thirteenth Judicial Circuit in and for

 Hillsborough County, Florida, to the United States District Court for the Middle District of

 Florida, Tampa Division, and respectfully requests that this District Court assume exclusive

 jurisdiction of this action, entering such other and further orders as may be necessary to

 accomplish the requested removal and promote the ends of justice.



                                                3
Case 8:18-cv-00860-RAL-CPT Document 1 Filed 04/11/18 Page 4 of 5 PageID 4




 Dated: April 10, 2018.             Respectfully submitted,

                                    McGUIREWOODS LLP

                                    By /s/ Courtney A. McCormick
                                    Sara F. Holladay-Tobias
                                    Florida Bar No. 0026225
                                    Primary E-Mail: stobias@mcguirewoods.com
                                    Secondary E-Mail: flservice@mcguirewoods.com
                                    Emily Y. Rottmann
                                    Florida Bar No. 0093154
                                    Primary E-Mail: erottmann@mcguirewoods.com
                                    Secondary E-Mail: clambert@mcguirewoods.com
                                    Courtney A. McCormick
                                    Florida Bar No. 0092879
                                    Primary E-Mail: cmccormick@mcguirewoods.com
                                    Secondary E-Mail: flservice@mcguirewoods.com
                                    50 N. Laura Street, Suite 3300
                                    Jacksonville, Florida 32202
                                    (904) 798-3200
                                    (904) 798-3207 (fax)

                                    Counsel for Defendant Ocwen Loan Servicing, LLC




                                     4
Case 8:18-cv-00860-RAL-CPT Document 1 Filed 04/11/18 Page 5 of 5 PageID 5




                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by Email on
 April 10, 2018 to the following:

  Young Kim, Esq.
  Consumer Law Attorneys
  2325 Ulmerton Rd., Ste. 16
  Clearwater, FL 33762
  service@consumerlawattorneys.com
  ykim@consumerlawattorneys.com
  jguzman@consumerlawattorneys.com

  Counsel for Plaintiff Howard Caraballo

                                                      /s/ Courtney A. McCormick
                                                             Attorney




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